Case 1:19-cv-00052-I\/|AC Document 3 Filed 03/19/19 Page 1 of 1 Page|D #: 39

AO 399 (01/09) Waiver of the Service ofSummons

UNITED STATES DISTRICT CoURT
for the
Eastel'n District of Texas

 

 

A|fredo Guevara-Mora|es, et a|., )
P/afntzf" )

v. ) Civil Action No. l:19-cv-00052
Sanchez Forestry, lnc., et a|., )
Defendam )

WAIVER OF THE SERVICE OF SUMMONS

To: Wi|liam Grigg
(Name of the plain!r'ff’s attorney or unrepresented plaintifD

 

l have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity lrepresent, agree to save the expense of serving a summons and complaint in this case.

l understand that l, or the entity l represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that l waive any objections to the absence of a summons or of service.

l also understand that l, or the entity l represent, must file and serve an answer or a motion under Rule 12 within
60 days from 02/04/2019 , the date when this request was s (0r 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against rn ort en ' l represent

Date: 7/[‘7/64%\"\ f L"_"

Sign}%)'e of xie\q_ltorney or unrepresented party

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Printed name of party waiving service of summons Primed name

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Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
n_o jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

lf you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule l2 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.

